                      UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION
  In the Matter of:                   }
                                      }
                                      }
  MARKEL BEHEL                        } Case No. 18-81697-CRJ-12
  SSN: XXX-XX-9193                    }
  MELANIE BEHEL                       } Chapter 12
  SSN: XXX-XX-5904                    }
                                      }
                            Debtor(s) }
                                      }

                  ORDER RESCHEDULING CONFIRMATION HEARING

         This case came before the Court on October 15, 2018 for Confirmation of Debtors’ First
 Amended Plan of Reorganization, Objections to Confirmation filed by the Chapter 12 Trustee and
 by Wayne County Bank, Debtor’s Objection to Proofs of Claim of Wayne County Bank, and other
 related matters. The Court also held a Status Conference in the Adversary Proceeding filed by
 Wayne County Bank against the Debtors, AP 18-80094-CRJ-12. Present at the hearing were C.
 David Cottingham, Esq., Chapter 12 Trustee; Tazewell Taylor Shepard, IV, Esq., counsel for the
 Debtors; Rowlett W. Sneed, III, Esq., counsel for Wayne County Bank; and Richard Blythe, Esq.,
 counsel for the Bankruptcy Administrator.

         During the hearing, counsel for the Debtors reported that the Debtors and Wayne County
 Bank filed a Joint Motion for Approval of Compromise and Settlement resolving their claims and
 disputes involved in both the Adversary Proceeding and the underlying case. The Chapter 12
 Trustee made an oral motion to continue the Confirmation Hearing beyond a date 45 days after the
 original filing of the Debtor’s Chapter 12 Plan to provide sufficient notice pursuant to Rule 9019
 of the Federal Rules of Bankruptcy Procedure of the proposed settlement.

         For cause shown pursuant to 11 U.S.C. § 1224, the Court granted the oral motion in open
 court and finds that the Confirmation Hearing must be rescheduled beyond a date that is 45 days
 after the filing of the Debtors’ plan.

        IT IS THEREFORE ORDERED, ADJUDGED and DECREED that a hearing on
 Confirmation of the Second Amended Plan and all related matters will be held on Monday,
 November 19, 2018 at 10:00 a.m., CDT, before the Honorable Clifton R. Jessup, Jr. at the United
 States Bankruptcy Courthouse, 400 Well Street, Decatur, AL 35601.

 Dated this the 16th day of October, 2018.

                                                     /s/ Clifton R. Jessup, Jr.
                                                     Clifton R. Jessup, Jr.
                                                     United States Bankruptcy Judge




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